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                              UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY

                                                           Civil Action No. 2:20-cv-17484-JMV-JBC
 REDI-DATA, INC.,
                                                                             Civil Action
                         Plaintiff,
         v.                                                        Document Filed Electronically

 THE SPAMHAUS PROJECT a/k/a THE SPAMHAUS                       DISCOVERY CONFIDENTIALITY
 PROJECT LTD.,                                                          ORDER
                         Defendant.


        It appearing that discovery in the above-captioned action is likely to involve the
 disclosure of confidential information, it is ORDERED as follows:

          1.     Any party to this litigation and any third-party shall have the right to designate as
 “Confidential” and subject to this Order any information, document, or thing, or portion of any
 document or thing that: (a) contains trade secrets, competitively sensitive technical, marketing,
 financial, sales or other confidential business information, (b) contains private or confidential
 personal information, (c) contains information received in confidence from third parties, or (d) the
 producing party otherwise believes in good faith to be entitled to protection under Rule
 26(c)(1)(G) of the Federal Rules of Civil Procedure and Local Civil Rule 5.3. Any party to this
 litigation or any third party covered by this Order, who produces or discloses any Confidential
 material, including, without limitation any information, document, thing, interrogatory answer,
 admission, pleading, or testimony, shall mark the same with the foregoing or similar legend:
 “CONFIDENTIAL”            or    “CONFIDENTIAL            –     SUBJECT        TO       DISCOVERY
 CONFIDENTIALITY ORDER” (hereinafter “Confidential”).

         2.     Any party to this litigation and any third-party shall have the right to designate as
 “Attorneys’ Eyes Only” and subject to this Order any information, document, or thing, or portion
 of any document or thing that contains highly sensitive business or personal information, the
 disclosure of which is highly likely to cause significant harm to an individual or to the business or
 competitive position of the designating party. Any party to this litigation or any third party who
 is covered by this Order, who produces or discloses any Attorneys’ Eyes Only material, including,
 without limitation, any information, document, thing, interrogatory answer, admission, pleading,
 or testimony, shall mark the same with the foregoing or similar legend: “ATTORNEYS’ EYES
 ONLY” or “ATTORNEYS’ EYES ONLY – SUBJECT TO DISCOVERY CONFIDENTIALITY
 ORDER” (hereinafter “Attorneys’ Eyes Only”).

         3.      All Confidential material shall be used by the receiving party solely for purposes
 of the prosecution or defense of this action, shall not be used by the receiving party for any
 business, commercial, competitive, personal or other purpose, and shall not be disclosed by the
 receiving party to anyone other than those set forth in Paragraph 4, unless and until the restrictions
 herein are removed either by written agreement of counsel for the parties or by Order of the
 Court. It is, however, understood that counsel for a party may give advice and opinions to his
 or her client solely relating to the above-captioned action based on his or her evaluation of
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 Confidential material, provided that such advice and opinions shall not reveal the content of
 such Confidential material except by prior written agreement of counsel for the parties, or by
 Order of the Court.

         4.      Confidential material and the contents of Confidential material may be disclosed
 only to the following individuals under the following conditions:

                a.      Outside counsel (herein defined as any attorney at the parties’ outside law
                firms) and relevant in-house counsel for the parties;

                b.      Outside experts or consultants retained by outside counsel for purposes of
                this action, provided they have signed a non-disclosure agreement in the form
                attached hereto as Exhibit A;

                c.      Secretarial, paralegal, clerical, duplicating and data processing personnel
                of the foregoing;

                d.      The Court and court personnel;

                e.      Any deponent may be shown or examined on any information, document or
                thing designated Confidential if it appears that the witness authored or received a
                copy of it, was involved in the subject matter described therein or is employed by
                the party who produced the information, document or thing, or if the producing
                party consents to such disclosure;

                f.       Vendors retained by or for the parties to assist in preparing for pretrial
                discovery, trial and/or hearings including, but not limited to, court reporters,
                litigation support personnel, jury consultants, individuals to prepare demonstrative
                and audiovisual aids for use in the courtroom or in depositions or mock jury
                sessions, as well as their staff and stenographic and clerical employees whose duties
                and responsibilities require access to such materials; and

                g.      The parties. In the case of parties that are corporations or other business
                entities, “party” shall mean executives who are required to participate in decisions
                with reference to this lawsuit.

         5.      Confidential material shall be used only by individuals permitted access to it
 under Paragraph 4. Confidential material, copies thereof, and the information contained therein,
 shall not be disclosed in any manner to any other individual, until and unless (a) outside counsel
 for the party asserting confidentiality waives the claim of confidentiality, or (b) the Court orders
 such disclosure.

           6.      With respect to any depositions that involve a disclosure of Confidential material
 of a party to this action, such party shall have until thirty (30) days after receipt of the deposition
 transcript within which to inform all other parties that portions of the transcript are to be designated
 Confidential, which period may be extended by agreement of the parties. No such deposition
 transcript shall be disclosed to any individual other than the individuals described in Paragraph 4(a),
 (b), (c), (d), and (f) above and the deponent during these thirty (30) days, and no individual attending
 such a deposition shall disclose the contents of the deposition to any individual other than those
 described in Paragraph 4(a), (b), (c), (d), and (f) above during said thirty (30) days. Upon being
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 informed that certain portions of a deposition are to be designated as Confidential, all parties shall
 immediately cause each copy of the transcript in its custody or control to be appropriately marked
 and limit disclosure of that transcript in accordance with Paragraphs 3 and 4.

         7.     Material produced and marked as Attorneys’ Eyes Only may be disclosed only to
 outside counsel for the receiving party and to such other persons as counsel for the producing
 party agrees in advance or as Ordered by the Court.

         8.      If counsel for a party receiving documents or information designated as
 Confidential or Attorneys’ Eyes Only hereunder objects to such designation of any or all of such
 items, the following procedure shall apply:

                  (a)     Counsel for the objecting party shall serve on the designating party or third
 party a written objection to such designation, which shall describe with particularity the documents
 or information in question and shall state the grounds for objection. Counsel for the designating
 party or third party shall respond in writing to such objection within 14 days, and shall state with
 particularity the grounds for asserting that the document or information is Confidential or
 Attorneys’ Eyes Only. If no timely written response is made to the objection, the challenged
 designation will be deemed to be void. If the designating party or nonparty makes a timely response
 to such objection asserting the propriety of the designation, counsel shall then confer in good faith
 in an effort to resolve the dispute.

                 (b)     If a dispute as to a Confidential or Attorneys’ Eyes Only designation of a
 document or item of information cannot be resolved by agreement, the proponent of the
 designation being challenged shall present the dispute to the Court initially by telephone or letter,
 in accordance with Local Civil Rule 37.1(a)(1), before filing a formal motion for an order
 regarding the challenged designation. The document or information that is the subject of the filing
 shall be treated as originally designated pending resolution of the dispute.

        9.     Any document designated “Confidential” or “Attorneys’ Eyes Only” by a party or
 non-party and which document is filed with the Court shall be filed under seal, in accordance with
 Local Civil Rule 5.3.

         10.    If the need arises during trial or at any hearing before the Court for any party to
 disclose Confidential or Attorneys’ Eyes Only information, it may do so only after giving notice
 to the producing party and as directed by the Court.

         11.     To the extent consistent with applicable law, the inadvertent or unintentional
 disclosure of Confidential material that should have been designated as such, regardless of whether
 the information, document or thing was so designated at the time of disclosure, shall not be deemed
 a waiver in whole or in part of a party’s claim of confidentiality, either as to the specific
 information, document or thing disclosed or as to any other material or information concerning the
 same or related subject matter. Such inadvertent or unintentional disclosure may be rectified by
 notifying in writing counsel for all parties to whom the material was disclosed that the material
 should have been designated Confidential within a reasonable time after disclosure. Such notice
 shall constitute a designation of the information, document or thing as Confidential under this
 Discovery Confidentiality Order.

         12. When the inadvertent or mistaken disclosure of any information, document or thing
 protected by privilege or work-product immunity is discovered by the producing party and brought
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 to the attention of the receiving party, the receiving party’s treatment of such material shall be in
 accordance with Federal Rule of Civil Procedure 26(b)(5)(B). Such inadvertent or mistaken
 disclosure of such information, document or thing shall not by itself constitute a waiver by the
 producing party of any claims of privilege or work-product immunity. However, nothing herein
 restricts the right of the receiving party to challenge the producing party’s claim of privilege if
 appropriate within a reasonable time after receiving notice of the inadvertent or mistaken
 disclosure.

         13. No information that is in the public domain or which is already known by the
 receiving party through proper means or which is or becomes available to a party from a source
 other than the party asserting confidentiality, rightfully in possession of such information on a
 non-confidential basis, shall be deemed or considered to be Confidential material under this
 Discovery Confidentiality Order.

          14. This Discovery Confidentiality Order shall not deprive any party of its right to
 object to discovery by any other party or on any otherwise permitted ground. This Discovery
 Confidentiality Order is being entered without prejudice to the right of any party to move the
 Court for modification or for relief from any of its terms.

          15. This Discovery Confidentiality Order shall survive the termination of this action
 and shall remain in full force and effect unless modified by an Order of this Court or by the
 written stipulation of the parties filed with the Court.

          16. Upon final conclusion of this litigation, each party or other individual subject to
 the terms hereof shall be under an obligation to assemble and to return to the originating source
 all originals and unmarked copies of documents and things containing Confidential material and
 to destroy, should such source so request, all copies of Confidential material that contain and/or
 constitute attorney work product as well as excerpts, summaries and digests revealing
 Confidential material; provided, however, that counsel may retain complete copies of all
 transcripts and pleadings including any exhibits attached thereto for archival purposes, subject to
 the provisions of this Discovery Confidentiality Order. To the extent a party requests the return
 of Confidential material from the Court after the final conclusion of the litigation, including the
 exhaustion of all appeals therefrom and all related proceedings, the party shall file a motion
 seeking such relief.


 IT IS SO ORDERED.

 Dated:                                                        _____________________________
                                                               James B. Clark, III, U.S.M.J.




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                                            EXHIBIT A

                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY

                                                      Case No. 2:20-cv-16366-JMV-JBC
 REDI-DATA, INC.,
                                                                      Civil Action
                         Plaintiff,
                                                            Document Filed Electronically
                v.
                                                        AGREEMENT TO BE BOUND BY
 THE SPAMHAUS PROJECT a/k/a THE                         DISCOVERY CONFIDENTIALITY
 SPAMHAUS PROJECT LTD.,                                          ORDER

                         Defendants.


I, _______________________________ , being duly sworn, state that:

   1.    My address is          ___________________________________________.

   2.  My present employer is _________________ and the address of my present
employment is ________________________________________________.

   3.    My present occupation or job description is _________________.

   4.    I have carefully read and understood the provisions of the Discovery Confidentiality
Order in this case signed by the Court, and I will comply with all provisions of the Discovery
Confidentiality Order.

    5.   I will hold in confidence and not disclose to anyone not qualified under the Discovery
Confidentiality Order any Confidential Material or any words, summaries, abstracts, or indices
of Confidential Information disclosed to me.

   6.    I will limit use of Confidential Material disclosed to me solely for purpose of this action.

    7.    No later than the final conclusion of the case, I will return all Confidential Material and
summaries, abstracts, and indices thereof which come into my possession, and documents or
things which I have prepared relating thereto, to counsel for the party for whom I was employed
or retained.




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   I declare under penalty of perjury that the foregoing is true and correct.




Dated: _________________________ ____________________________________[Name]




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